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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO
                             Judge Robert E. Blackburn

Criminal Action No. 19-cr-00176-REB

UNITED STATES OF AMERICA,

       Plaintiff,
v.

1. RACHEL SHARON LANDGREBE,

       Defendant.


                    FINDINGS OF FACT AND CONCLUSIONS OF LAW
                         ON THE ENTRY OF A PLEA OF GUILTY

Blackburn, J.

       On December 18, 2019, I conducted a change of plea hearing during which (1)

the defendant, her counsel, counsel for the government, and I formally reviewed and

considered the plea agreement of the parties as stated in Court’s Exhibits 1 and 2 (“plea

agreement”); (2) I rearraigned the defendant under Fed. R. Crim. P. 10; and (3) I

formally advised the defendant and conducted providency proceedings under Fed. R.

Crim. P. 11.

       Based upon my exchange and colloquy with the defendant under oath in open

court on the record; based upon the representations, remarks, and statements of

counsel for the government and counsel for the defendant; based upon my review of the

file and my review of the written plea agreement as stated in Court’s Exhibits 1 and 2, I

enter the following findings of fact and conclusions of law:
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       That the defendant appeared to be alert and not under the influence of or

impaired by drugs, narcotics, marihuana, alcohol, medication, or intoxicants;

       That the defendant was competent and fully understood the nature,

circumstances, and essential elements of the offense to which her plea of guilty was

entered;

       That the defendant understands clearly that the government has the right in a

prosecution for perjury or false statement to use against the defendant any statement

that the defendant gives under oath;

       That the defendant understood the direct and collateral consequences that she

may suffer or experience as a result of her participation in the plea agreement, her plea

of guilty, and the resultant felony conviction and sentence;

       That the defendant’s plea of guilty was made and entered voluntarily, knowingly,

intelligently and intentionally, and was not the result of mistake; misunderstanding, fear,

force, threats, coercion, or undue influence by anyone;

       That the defendant’s plea of guilty was not the result of any promise or

inducement made by anyone, including legal counsel, except as previously indicated on

the record and included in the written plea agreement;

       That the defendant understood each of her legal rights, including the rights

enumerated at Fed. R. Crim. P. 11(b)(1)(B) and (E), and her right to a trial by jury and

her right to be represented throughout this criminal case by an attorney even if indigent;

and that the defendant freely, voluntarily, knowingly, intelligently, and intentionally

waived her rights and privileges, including the right to trial by jury and except as limited

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expressly by the plea agreement, her right to appeal or to collaterally attack the

prosecution, conviction, and/or sentence; however, the defendant did not waive her right to

be represented throughout this criminal case by an attorney even if indigent;

       That the defendant understood the maximum possible penalties, including

imprisonment, fine, and term of supervised release;

       That the defendant understood that in imposing sentence, I must consult and

consider the purposes and goals of sentencing as prescribed by Congress, the relevant

provisions of the advisory United States Sentencing Guidelines, any motion for a

sentence departure or variance, and the provisions of 18 U.S.C. § 3553 (a)(1)-(7);and

the defendant clearly understood that regardless of the sentence I impose, she may not

withdraw her plea of guilty on that basis;

       That the defendant understood that the court will not be bound by any

representations by anyone concerning the sentence and penalties to be imposed,

except as specified in the plea agreement or on the record;

       That having compared the conduct admitted or conceded by the defendant with

the elements of the charged offense, a factual basis exists to support and sustain the

plea agreement and the defendant’s plea of guilty;

       That the defendant has been represented at the change of plea hearing and

throughout this case by effective and competent counsel with whom the defendant had

no objection, criticism, or complaint whatsoever;

       That the defendant had sufficient time to read, review, discuss, and consider her

plea agreement and to discuss it carefully and thoroughly with her attorney;

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       That the defendant read, understood, and accepted each and every term and

provision within her plea agreement, which she reviewed carefully and thoroughly with

her attorney;

       That the plea agreement conformed in form and substance to the requirements

of law, including The Local Rules of Practice of the United States District Court for the

District of Colorado-Criminal; and

       That on the record considered as a whole, I conclude that I may properly accept

the defendant’s plea of guilty, which were entered in the context of her plea agreement,

and defer formal approval of the plea agreement as stated in Court’s Exhibits 1 and 2,

pending opportunity to consider the presentence report.

       Dated December 18, 2019, at Denver, Colorado.

                                                 BY THE COURT:




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